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 8                                UNITED STATES DISTRICT COURT

 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11   UNITED STATES,                                        Case No. CR 09-263 RMW
12
                            Plaintiff,                     STATUS CONFERENCE
13                                                         MEMORANDUM OF ADRIANA
                    v.                                     STUMPO
14
                                                           Date: April 5, 2010
15   JOSEPH BUDDENBERG;                                    Time: 9.00 a.m.
     MARYAM KHAJAVI;                                       Court: R.M. Whyte
16
     NATHAN POPE, and
17   ADRIANA STUMPO,
                      Defendants.
18

19          Thomas J. Nolan and Emma Bradford, attorneys for Adriana Stumpo, respectfully submit
20   this status conference memorandum regarding the above-entitled action.
21          Ms. Stumpo is one of four defendants in the above-entitled action. Thomas J. Nolan, who
22   is being assisted by Emma Bradford, was appointed under the CJA. Mr. Pope was also appointed
23   a CJA attorney, James M. Thompson. Mr. Buddenburg is represented by Mr. Robert Bloom and
24   Ms. Khajavi is represented by Tony Serra. The prosecutor in the matter is AUSA Elise Becker.
25   All four defendants will be present in court for status conference scheduled for April 5, 2010, at
26   9:00 am. All four defendants are out of custody on pretrial supervision. The case has previously
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 1   been declared complex. This status conference memorandum is submitted solely on behalf of Ms.

 2   Stumpo and counsel intends to make no representations on behalf of any other defendant.

 3                                                DISCOVERY
 4          AUSA Becker has been diligently providing discovery as she has received it. At the

 5   present time, we have received 3,030 pages of discovery. The last 250 pages of discovery was

 6   received by our office on March 12, 2010. Our office has been entering the discovery into a

 7   database for review. We have provided and will continue to provide the database to the other

 8   defendants and their counsel.

 9          Some of the difficulties regarding the discovery have to do with the fact that numerous

10   activities were documented by local police departments over a period of years and those reports

11   have been, in many instances, given to the federal authorities. In many instances, however, the

12   reports are being discovered as we proceed in the case. We have located approximately 150 or

13   more individual case numbers possibly relevant to this case. In each of those case numbers, there

14   are references to photographs, tapes, videos, or other items of evidence or potential evidence that

15   we are in the process of either documenting that we have been provided, or making arrangements

16   with the government to obtain. My office has reviewed each page of discovery and prepared a

17   lengthy letter to the prosecutor which will hopefully be completed by April 5, 2010, asking for

18   either unredacted copies of discovery and/or those items that are referenced in the discovery we

19   have already received.

20          We have had no difficulty with the government in expeditiously proceeding with obtaining

21   the discovery. We will continue to work ensure that we have the discovery necessary. To date, no

22   motions regarding discovery have needed to be filed.

23                                                MOTIONS
24          Ms. Stumpo has previously filed a motion to dismiss the Indictment on the grounds that the

25   statute is unconstitutional on its face and the Court has ruled on that motion. Ms Stumpo is

26   anticipating filing a motion to dismiss the Indictment on the grounds that the statute is

27   unconstitutional as applied to her. In anticipation of that motion and in anticipation of preparing

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 1   for trial, counsel for Ms. Stumpo prepared a motion for a bill of particulars. Before filing that

 2   motion, however, counsel for Ms. Stumpo made an informal request to the prosecutor for specific

 3   information as a prerequisite to filing a motion for a bill of particulars. AUSA Becker has notified

 4   counsel that she intends to file a bill of particulars no later than April 9, 2010.

 5           In light of that assurance by AUSA Becker, Ms. Stumpo has delayed filing a motion for a

 6   bill of particulars until after April 9, 2010, to determine whether that motion may still prove

 7   necessary. Ms. Stumpo has additionally not yet filed the motion to dismiss the Indictment on the

 8   grounds that the statute is unconstitutional as applied to her, as a review of the government’s bill

 9   of particulars and determination of other pretrial motions may be necessary before doing so.

10           As such, Ms. Stumpo simply wishes to alert the Court to motions which may be

11   forthcoming, but for which the filing of such motions is not yet appropriate.

12                                        ADDITIONAL MOTIONS
13           There are however, certain additional motions which counsel for Ms. Stumpo believes may

14   be ready to be addressed. Ms. Stumpo is preparing two motions to suppress evidence based upon

15   a state search warrant and a federal search which were issued in this case. Those motions will be

16   ready to be filed approximately three weeks after April 9, 2010. At the present time, it appears

17   that both of Ms. Stumpo’s suppression motions will be based on the affidavits in support of the

18   search warrants and will not require an evidentiary hearing.

19           It is anticipated that prior to April 5, 2010, counsel for Ms. Stumpo will discuss with the

20   prosecutor, who is presently out of the country, an appropriate briefing schedule, hopefully

21   agreeable to the court.

22           In addition to the suppression motions, there are significant issues that both the prosecution

23   and Ms. Stumpo would like to see resolved as early as possible before trial. There are issues

24   regarding the admissibility of evidence, jury instructions, and the nature of the mental states which

25   the government may be required to prove. Before counsel can determine how many, if any, of

26   those pre-trial motions need to be filed, we must review the bill of particulars, in that the bill of

27   particulars may resolve some of those issues, without the necessity of a formal motion.

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 1          If the issues are not resolved by the bill of particulars, however, Ms. Stumpo will be ready

 2   within three weeks of receiving the bill of particulars, to file those pre-trial motions. I believe that

 3   the prosecutor also wishes these issues to be resolved. Moreover, due to the fact that this is the

 4   first implementation of this statute that we are aware of, I believe it is important to try to resolve

 5   these matters at an early stage in the proceedings.

 6          Counsel for the co-defendants may have other motions to dismiss or motions for other

 7   relief, however, at the present time, Ms. Stumpo is not aware of any motions that she may have to

 8   file in this matter, other than what has been stated in this memorandum.

 9

10   Date: April 1, 2010                            Respectfully submitted,

11                                                  /s/

12                                                  ______________________________________

13                                                  Thomas J. Nolan
                                                    Emma Bradford
14                                                  Nolan, Armstrong & Barton, LLP
                                                    Attorneys for Defendant Adriana Stumpo
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